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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                )
                                               )               8:11CR125
       vs.                                     )
                                               )                 ORDER
MARTIN SANTIAGO-ROBLES,                        )
BEATRIZ LOPEZ-MARISCAL,                        )
JOSE ROSARIO LOPEZ-SANTIAGO,                   )
                                               )
                     Defendants.               )


      This matter is before the court on the defendant Beatriz Lopez-Mariscal's unopposed
motion to continue trial [38] due to defense counsel's trial schedule. The defendant has
complied with NECrimR 12.1(a).

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for July 26, 2011 is continued to August 30, 2011.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between July 26, 2011 and August 30, 2011, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED May 24, 2011.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
